Case: 1:22-cv-00513-BMB Doc #: 47 Filed: 06/12/23 1 of 1. PagelD #: 197 Mc-040

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar number, and address): *

 

FILED
TELEPHONE NO.: FAX NO. (Optional: J UN | 2 2023
E-MAIL ADDRESS (Optional): CLERK, U.S. DISTRICT COURT,
NORTHERN DISTRICT OF OHIO
CLEVELAND

ATTORNEY FOR (Name):

 

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SfPREET ADDRESS:

MAILING ADDRESS: Pr 0 KBOoyX 44 34 |

 

 

 

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CASE NUMBER:
PLAINTIFF/PE TFITIONER: / '2-Q-ey _ vO Sy] Q- BMY
DEFENDANT/RESPONDENT: JUDICIAL OFFICER:
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NOTICE OF CHANGE OF ADDRESS OR OTHER DEPT:

 

CONTACT INFORMATION

 

 

 

4. Please take notice that, as of (date):
[the following self-represented party or
[__] the attorney for:

plaintiff (name):
To defendant (name):
[___] petitioner (name):
[__] respondent (name):
[_] other (describe):

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has changed his or her address for service of notices and documents or other contact information in the above-captioned
action.

["~"] A list of additional parties represented Is provided in Attachment 1.

2. The new address some pore information for frame SON

is as follows:
a. Street:
b. City:

Mailing address (if different from above): P. G1 BOR A'3 4

'o code: cueve trad OY
State and zip code: tee 1 Of

Telephone number: 226-586-5749

Fax number {if avallable):

g. E-mail address (if available}: Y e llew bh} & ck b4afl @& Gian ' /x com

3. All notices and documents regarding the action should be sent to the above address.

Date: i / f/x Q023 (]
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(TYPE OR PRINT NAME} (SIGNATURE OF PARTY OR ATTORNEY}

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Page 4

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